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                          UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                       EUGENE DIVISION


 JOHN DOE,                                            Civil Action No. 6:_______________
                      Plaintiff,
        v.                                            COMPLAINT

 OREGON STATE UNIVERSITY,                             1. Violations of Title IX, 20 U.S.C. §
 BOARD OF TRUSTEES OF OREGON                          1681 et seq. – Erroneous Outcome
 STATE UNIVERSITY, KIMBERLY                           2. Violations of Title IX, 20 U.S.C. §
 KIRKLAND, in her individual and                      1681 et seq. – Gender Bias
 official capacity, CAROL MILLIE, in                  3. Violations of 42 U.S.C. § 1983
 her individual and official capacity,                4. Breach of Contract
 BEVERLY RUSSELL, in her individual
 and official capacity, REBECCA                       DEMAND FOR JURY TRIAL
 JOHNSON, in her individual and
 official capacity, and EDWARD FESER,
 in his individual and official capacity,

                      Defendants.




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         Plaintiff John Doe 1 (“Plaintiff” or “John Doe”), by his attorneys Nesenoff & Miltenberg,

LLP, and Anna P. Sammons, as and for his Complaint, respectfully alleges as follows:

                                    THE NATURE OF THIS ACTION

         1.       This case arises out of the actions taken and procedures employed by Defendants

Oregon State University (“OSU” or the “University”), the Board of Trustees of Oregon State

University (the “Board”), Kimberly Kirkland, Carol Millie, Beverly Russell, Rebecca Johnson,

and Edward Feser (collectively “Defendants”) as a result of false allegations of sexual misconduct

made by Jane Roe 2 against John Doe, at that time, a talented and promising fellow-student in his

final year at the University, with a spotless record and a bright career ahead of him in the United

States Secret Service.

         2.       In investigating and adjudicating the false allegations against John Doe, OSU

deprived him of basic fairness when it conducted a disciplinary process that was neither thorough

nor impartial, exhibited a gender bias against Doe as the male accused, and deprived him of his

fundamental rights to a fair proceeding, including the presumption of innocence. The ultimate

decision came down to a determination of which party’s account the University deemed more

credible.

         3.       A non-exhaustive list of Defendants’ wrongful actions include the following: (i)

Defendants failed to conduct a thorough and impartial investigation when they disregarded Doe’s

credible, detailed, consistent account of what had occurred, particularly in light of the fact that he

had passed a polygraph examination administered by a licensed polygrapher; (ii) Defendants

declined to interview Jen Smith, a critical witness proffered by Doe who had observed Doe and



1
  Plaintiff will file a Motion to Proceed Pseudonymously and is prepared to confidentially disclose his identity to the
Court.
2
  Plaintiff refers to Jane Roe pseudonymously and is prepared to confidentially disclose her identity to the Court.

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Roe’s interactions in the weeks leading up to the night in question, and then throughout that

evening, but then, upon information and belief, interviewed witnesses proffered by Roe who had

not observed Roe’s actions on that night; (iii) Defendants, in fact, declined to interview over 75%

(more than seven) of Doe’s proffered witnesses; (iv) Defendants refused to ask relevant, important

questions posed by Doe to Roe and her witnesses; (v) Defendants failed to permit Doe to review

and respond to all evidence offered against him, thus depriving Doe of the opportunity to

adequately defend himself against the conduct alleged; (vi) Defendants made assessments of

credibility without any ascertainable rationale or logic; (vii) Defendants failed to afford Plaintiff

the requisite presumption of innocence required by the preponderance of the evidence standard;

(viii) Defendants failed to provide Doe an opportunity to have his case heard before an impartial

panel without a predetermined outcome; and (ix) Defendants reached an erroneous finding

completely unsupported by the evidence. All of these procedural errors, individually, and when

taken together, unfairly and materially affected the outcome of Plaintiff’s case.

       4.      As a result of Defendants’ discriminatory and unlawful conduct, Plaintiff has been

significantly damaged and irreparably harmed, suffering an unwarranted two-year suspension from

the University—despite having completed the academic requirements to fulfill his degree—a

delayed graduation date, the loss of his promising career in the United States Secret Service, and

the consequent loss of anticipated career opportunities and prospective earnings.

       5.      Plaintiff therefore brings this action for relief based on causes of action for

violations of Title IX of the Education Amendments of 1972, violations of Fourteenth Amendment

Due Process, and other state law causes of action.




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                                         THE PARTIES

       6.      At all relevant times hereto, Plaintiff John Doe was a resident of the State of

Oregon.

       7.      Upon information and belief, Defendant the Board of Trustees of Oregon State

University serves as the governing body of Oregon State University.

       8.      Upon information and belief, Defendant Oregon State University is a public

research institution of higher education with its principal place of business in Corvallis, Oregon,

with additional campuses throughout the State of Oregon, including Bend, Oregon.

       9.      Upon information and belief, Defendant Kimberly Kirkland (“Ms. Kirkland” or

“Defendant Kirkland”) is a natural person and resident of the State of Oregon. At all relevant times,

Ms. Kirkland served as the Executive Director and Title IX Coordinator. Upon information and

belief, Ms. Kirkland can provide part of the relief requested by Plaintiff Doe.

       10.     Upon information and belief, Defendant Carol Millie (“Ms. Millie” or “Defendant

Millie”) is a natural person and resident of the State of Oregon. At all relevant times, Ms. Millie

served as Director of Student Conduct and Community Standards of Oregon State University.

Upon information and belief, Ms. Millie can provide part of the relief requested by Plaintiff Doe.

       11.     Upon information and belief, Defendant Beverly Russell (“Ms. Russell” or

“Defendant Russell”) is a natural person and resident of the State of Oregon. At all relevant times,

Ms. Russell served as an investigator for Student Conduct and Community Standards for Oregon

State University.

       12.     Upon information and belief, Defendant Rebecca Johnson (“Ms. Johnson”) is a

natural person and resident of the State of Oregon. Ms. Johnson is employed as the current interim




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President of Oregon State University. Upon information and belief, Ms. Johnson can provide part

of the relief requested by Plaintiff Doe.

       13.     Upon information and belief, Defendant Edward Feser (“Mr. Feser”) is a natural

person and resident of the State of Oregon. Mr. Feser is employed as the current Provost of Oregon

State University. Upon information and belief, Mr. Feser can provide part of the relief requested

by Plaintiff Doe.

                                 JURISDICTION AND VENUE

       14.     This Court has federal question and supplemental jurisdiction pursuant to 28 U.S.C.

§§ 1331–1332, 1367 (2018) because: (i) the federal law claim arises under the Constitution and

statutes of the United States; and (ii) the state law claims are so closely related to the federal law

claims as to form the same case or controversy under Article III of the United States Constitution.

       15.     This Court has personal jurisdiction over Defendant Board of Trustees of Oregon

State University because it conducts business within the State of Oregon and is the governing body

of Oregon State University.

       16.     This Court has personal jurisdiction over Defendant Oregon State University

because it conducts business within the State of Oregon.

       17.     This Court has personal jurisdiction over Defendant Kirkland on the grounds that

she was employed by OSU at all relevant times.

       18.     This Court has personal jurisdiction over Defendant Millie on the grounds that she

was employed by OSU at all relevant times.

       19.     This Court has personal jurisdiction over Defendant Russell on the grounds that she

served as an agent of the University in her role as investigator, at all relevant times.




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        20.      This Court has personal jurisdiction over Defendant Johnson on the grounds that

she is employed by OSU.

        21.      This Court has personal jurisdiction over Defendant Feser on the grounds that he is

employed by OSU.

        22.      At all relevant times, the actions discussed herein transpired within the State of

Oregon.

        23.      Venue for this action properly lies in this district pursuant to 28 U.S.C. § 1391

because OSU is considered to reside in this judicial district.

                  FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

   I.         Prior to the Events Described Herein, Plaintiff John Doe Had an Unblemished

              Personal and Academic Record

        24.      Throughout his life, John Doe has enjoyed an impeccable reputation for being a

good person and conscientious student.

        25.      Doe has participated in numerous volunteer activities, including over 100 hours

serving as a coach for the Special Olympics.

        26.      Doe originally matriculated to a different university within the State of Oregon,

where he had a spotless record, and later transferred to Oregon State University in the Fall of 2017

as a business administration major.

        27.      Doe chose to transfer to OSU due to its rigorous academic curriculum, reputation,

and internship opportunities.

        28.      John Doe has enjoyed outdoor activities and sports since childhood, specifically

including two particular sports that he has played throughout his life. In high school, he served as

a dual team captain due to his excellence on the field and superior leadership skills.



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         29.      While at OSU, Doe served as the volunteer manager of a women’s varsity athletic

team, beginning in the spring of 2019.

   II.         Oregon State University Has Long Faced Federal Pressure to Aggressively

               Combat Sexual Misconduct

         30.      On April 4, 2011, the Office for Civil Rights (“OCR”) of the United States

Department of Education (“DOE”) issued a guidance document on sexual violence, the “Dear

Colleague       Letter,”    U.S.   Dep’t.    of   Educ.,   Dear    Colleague   (Apr.   4,   2011),

https://www2.ed.gov/about/offices/list/ocr/letters/colleague-201104.pdf (hereinafter “DCL” or

“2011 Dear Colleague Letter”), interpreting Title IX of the Education Amendments of 1972, 20

U.S.C. § 1681 et seq., and its regulations, 34 C.F.R. Part 106 (2018). U.S. Department of

Education,                 Dear             Colleague          (Apr.           4,           2011),

https://www2.ed.gov/about/offices/list/ocr/letters/colleague-201104.pdf. Title IX’s regulations

require colleges and universities to have prompt and equitable grievance procedures to resolve

complaints of sex discrimination, including sexual harassment.

         31.      While directing schools “to take immediate action to eliminate the harassment,

prevent its recurrence, and address its effects,” Dear Colleague Letter, supra, at 4, the DCL de-

emphasized fair process by, among other things, being silent on a presumption of innocence,

directing schools to “minimize the burden on the complainant,” id. at 15–16, discouraging cross-

examination, id. at 12, requiring use of the “preponderance of the evidence” standard rather than

the higher “clear and convincing evidence” standard, which some colleges were using, id. at 11,

and prohibiting certain forms of alternative dispute resolution, id. at 8.

         32.      The DCL, while not completely ignoring due process concerns, suggested that

schools should focus more on victim advocacy.



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       33.     Despite its purported purpose as a mere guidance letter, OCR treated the DCL as a

binding regulation.

       34.     In a related guidance document published on April 29, 2014, the U.S. Dep’t of

Educ., Questions and Answers on Title IX and Sexual Violence (Apr. 29, 2014),

https://www2.ed.gov/about/offices/list/ocr/docs/qa-201404-title-ix.pdf [hereinafter 2014 Q&A],

OCR advised schools that hearings should be “conducted in a manner that does not inflict

additional trauma on the complainant,” id. at 31, and persons implementing schools’ grievance

procedures should be trained on “the effects of trauma, including neurobiological change,” id. at

40.

       35.     In June 2014, the Department of Education’s (“DOE”) Assistant Secretary for Civil

Rights, Catherine Lhamon, testified before the United States Senate that if OCR could not secure

voluntary compliance with its Title IX guidance from a college or university, the agency could

initiate administrative action to terminate federal funds or refer the case to the Department of

Justice. Sexual Assault on Campus: Working to Ensure Student Safety, Hearing Before the S.

Comm. on Health, Educ., Labor, and Pensions, 113th Cong. (2014) (statement of Catherine E.

Lhamon, Assistant Sec’y, Office for Civil Rights, U.S. Dep’t of Educ.).

       36.     In the decade since the OCR issued the 2011 Dear Colleague letter, universities

across the country, including OSU, have adopted “procedural and substantive policies intended to

make it easier for victims of sexual assault to make and prove their claims and for the schools to

adopt punitive measures in response.” Doe v. Brandeis Univ., 177 F. Supp. 3d 561, 572-73 (D.

Mass. 2016).

       37.     In April of 2017, Oregon State University became the subject of an OCR

investigation regarding its handling of alleged sexual misconduct complaints.



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       38.      In apparent response to this development, Oregon State University characterized

the “significant volume” of Title IX and Title VII reports (which include “bullying, retaliation,

and consensual relationship policy reports”) as “accomplishments.” Office of Equal Opportunity

and          Access,       Annual          Report         2018-2019,         at         3,       9

https://eoa.oregonstate.edu/sites/eoa.oregonstate.edu/files/2018-2019annualreport.pdf

       39.      On September 22, 2017, OCR rescinded the 2011 DCL and 2014 Q&A and noted

that the agency had been widely criticized for putting “improper pressure upon universities to

adopt procedures that do not afford fundamental fairness.” U.S. Dep’t. of Educ., Dear Colleague

(Sept. 22, 2017), https://www2.ed.gov/about/offices/list/ocr/letters/colleague-title-ix-201709.pdf

(quoting Members of the Penn Law School Faculty, Sexual Assault Complaints: Protecting

Complainants and the Accused Students at Universities, Wall St. J. (Feb. 18, 2015),

http://online.wsj.com/public/resources/documents/2015_0218_upenn.pdf).

       40.      As former Secretary of Education Betsy Devos noted, the rescission of the DCL

was largely motivated by “[t]he truth . . . that the system established by the prior administration

has failed too many students,” specifically because “[t]he notion that a school must diminish due

process rights to better serve the ‘victim’ only creates more victims.” Press Release, Secretary

DeVos Prepared Remarks on Title IX Enforcement (Sept. 7, 2017), available at

https://www.ed.gov/news/speeches/secretary-devos-prepared-remarks-title-ix-enforcement.

       41.      The OCR issued an interim guidance, U.S. Department of Education, Q&A on

Campus Sexual Misconduct (Sept. 2017), https://www2.ed.gov/about/offices/list/ocr/docs/qa-title-

ix-201709.pdf [hereinafter 2017 Q&A], while the agency conducted a rulemaking process that

would eventually lead to binding Title IX rules. The 2017 Q&A, which was in effect during the

events at issue in this Complaint, required that “[a]ny rights or opportunities that a school makes



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available to one party during the investigation should be made available to the other party on equal

terms.” Id. at 4.

           42.         In apparent response, Oregon State University issued “revised investigation and

adjudication procedures for students accused of sexual misconduct and/or discrimination,

effective             October       22,     2019,           and    announced           the         clarification    of

efforts          to       advance         how         the     university     investigates,            responds      to

and          resolves           reports         of       sexual      misconduct              and        discrimination

involving employees, effective January 17, 2020.” Office of Equal Opportunity and Access,

Annual Report 2018-2019, at 3 https://eoa.oregonstate.edu/sites/eoa.oregonstate.edu/files/2018-

2019annualreport.pdf.

           43.         On May 6, 2020, the DOE released its final regulations on Title IX, which took

effect on August 14, 2020. 3 Nondiscrimination on the Basis of Sex in Education Programs or

Activities Receiving Federal Financial Assistance, 85 Fed. Reg. 30,026 (May 19, 2020) (codified

at 34 C.F.R. pt. 106). The regulations make clear, inter alia, that schools can be found to

discriminate on the basis of sex by treating either the complainant or the respondent unfairly; that

parties must be provided access to the complaint, the evidence from the investigation, and a written

decision carefully addressing the evidence; that the parties are entitled to a live hearing with cross-

examination; that respondents must be presumed not responsible; that all relevant evidence must

be evaluated objectively; and that investigators and decisionmakers must receive non-biased

training, and may not rely on sex stereotypes.

           44.         The DOE launched a “comprehensive review” of the current Title IX regulations

on April 6, 2021, in response to President Joseph Biden’s March 8, 2021 Executive Order,


3
    The DOE published the final regulations in the Federal Register on May 19, 2020.

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Guaranteeing an Educational Environment Free From Discrimination on the Basis of Sex,

Including Sexual Orientation or Gender Identity, see https://www.govinfo.gov/content/pkg/FR-

2021-03-11/pdf/2021-05200.pdf. The DOE’s review remains pending to date.

          45.      As this Complaint will demonstrate, during the relevant time period, OSU

implemented its sexual misconduct policies in a manner intended to find accused male students

responsible and punish them harshly, in order to avoid institutional harm resulting from negative

media attention and/or the risk of losing federal funds pursuant to an OCR investigation.

   III.         At the Time of the Events Described Herein, Oregon State University Purported

                to Have Fair Policies and Procedures for Addressing Sexual Misconduct

                Complaints, but Promulgated Rules That Revealed a Bias Against Men

          46.      Upon information and belief, the 2019-2020 Code of Student Conduct (the

“Code”), the University Policy 05-001 Sexual Misconduct and Discrimination Policy (the

“Policy”), and Investigation Resolution Process (the “Procedures”) were in effect at the time of

the investigation against Plaintiff Doe and were supposed to be followed by the University during

the Title IX process

          47.      Upon information and belief, the documents containing the Code, Policy, and

Procedures that were in effect during Doe’s Title IX investigation (collectively hereinafter “OSU’s

Rules”) are no longer available online because OSU has since updated its policies and procedures.

          48.      Upon information and belief, throughout OSU’s Rules, the University makes

comments such as its statement that it is “committed to creating an equitable and inclusive campus

free of all violence, harassment, and discrimination.” Policy, 1.1.

          49.      OSU purports to afford all students a fair process, notice, and an opportunity to be

heard. “All Equity Associates, who serve as investigators for all allegations of a Policy and/or



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Discriminatory Misconduct violations, receive training on issues related to sexual and gender-

based harassment, sexual assault, dating violence, domestic violence, and stalking, and on how to

conduct an investigation that is fair and impartial, that provides parties with notice and a

meaningful opportunity to be heard, and that protects the safety of the parties and all participants

while promoting accountability.” Procedures, C.

        50.     The University states that in facilitation of the process, “the university does not

make an assumption either way but rather reviews all of the evidence to make a determination of

responsibility.” Id.

        51.     The University guarantees that the Office of Equal Opportunity and Access

(“EOA”) will “conduct a thorough and impartial investigation, gathering relevant and necessary

information about the alleged misconduct.” Procedures, L(6).

        52.     The University requires that “[t]he Director, SCCS and any individual designated

by the Director, SCCS must be free from actual bias.”

        53.     Upon information and belief, however, OSU’s then extant rules contained evidence

of a gender bias against men.

        54.     Examples of biased language can be found in some of the definitions used

throughout OSU’s Rules.

        55.     OSU’s Rules prohibit “unlawful behavior.” Code, 4.3(24). Unlawful behavior is

defined as “engaging in conduct that is prohibited by local, state or federal laws.” Id.

        56.     OSU’s Rules define the parties to a sexual misconduct investigation by different

terms. The Policy defined the parties as “reporting party” and “responding party.” Policy at 4.5-

4.6. However, the “Complainant” is defined in the Code as “[a]ny individual or party who is the

alleged recipient of alleged behaviors that would violate the Code.” Code, 2.4.



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       57.     The “Reporting Party” is the “person alleging a violation of this policy who is

allegedly the victim of a person who is alleged to have violated this policy.” Policy, 4.5.

       58.     The “Responding Party” is “any student charged with a violation of the Code.”

Code, 2.1.

       59.     OSU’s Rules also prohibit, “non-consensual sexual contact” which is defined as,

“[a]ny intentional touching, however slight, with any object, by a person upon another person that

is without consent and/or by force. Sexual contact includes: “intentional contact with the breasts,

buttocks, groin or genitals, or touching others with any of these body parts, or any other intentional

bodily contact made in a sexual manner.” Code, 4.4(28); Policy, 5.3.2(b)(i).

       60.     “Non-consensual sexual intercourse” is defined as “[a]ny sexual intercourse, with

any object, by a person upon another person that is without consent, and/or by force. Intercourse

includes: vaginal or anal penetration by a penis, object, tongue, or finger and mouth-to-genital

contact, no matter how slight the penetration or contact.” Code, 4.4(29).

       61.     “Non-consensual sexual activity” is defined in the Code as “[a]ny sexual activity,

including, but not limited to, kissing, touching intimate body parts, and fondling without first

obtaining consent to the specific activity. Such activity constitutes sexual misconduct under this

policy whether or not the conduct violates any civil or criminal law.” Code, 4.4(30).

       62.     Consent is defined in the Policy as “[k]nowing, voluntary, and clear permission by

word or action, to engage in mutually agreed upon sexual activity.” Id. at 4.1

       63.     Consent, as noted in the Policy must be, “informed and reciprocal…freely and

actively given…mutually understandable...[and] present and ongoing.” Policy, 5.4.3.

       64.     “Incapacitation” is defined by the Policy as “a state where an individual cannot

make an informed and rational decision to consent to sexual activity.” Policy, 5.4.5.c.



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           65.   When evaluating incapacitation, the Policy articulates that “[t]he use of alcohol or

other drugs does not, in and of itself, negate a person’s ability to give consent, but a level of

intoxication can be reached short of losing consciousness, in which a person’s judgment is so

impaired that they become incapacitated and thus are not capable of giving consent.” Policy,

5.4.6.a.

           66.   “Evaluating incapacitation also requires an assessment of whether the responding

party, or a sober, reasonable person in the responding party’s position, knew or should have known,

that the reporting party was incapacitated. If the person who wants to engage in sexual activity is

too intoxicated to judge another’s communications about consent, that person has an obligation to

cease the activity.” Policy, 5.4.6.c.

           67.   The Policy defines “reasonable person” as a “person under similar circumstances

and with the same protected status(es) as the reporting party.” Id. at 4.7.

           68.   Upon information and belief, OSU’s Rules make liberal use of words and phrases

associated with gender-biased training materials to conduct sexual misconduct investigations. For

instance, these words are aimed at combatting violence against women, but not necessarily men,

including terms such as “perpetrator,” “victim,” and “survivor”

           69.   OSU’s Rules list multiple resources for “survivors” including, but not limited to,

an advocacy resource center in Section 5.1.9(a) and 6.3.1(a), and services at OSU Student Health

Services, where “survivors can be in familiar surroundings with caring clinicians.” Upon

information and belief, most of the resources are geared specifically toward women; although,

upon information and belief, they exist in the community and online, no resources specifically for

males are listed.




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       70.     Upon information and belief, OSU’s policy when receiving a complaint regarding

sexual misconduct was to determine whether sufficient information was present to open an official

investigation into the complaint. See, for example, Code, 5.1.

       71.     If sufficient information was uncovered, OSU was required to provide notice in

writing. Id. “The notice of charge will identify the alleged behaviors, the approximate date, time,

and location of the alleged behavior, the Code…sections that are alleged to have been violated and

which hearing body will review the matter. The notice of charge will provide the student…with

directions and details regarding scheduling a date, time, and location for an administrative

conference or SCCS committee hearing.” Id.

       72.     After a letter of notice is issued, OSU’s Rules allowed the University to impose

interim measures, including, but not limited to, the issuance of a no contact order and “prohibition

from participating in student activities.” Procedures, I (1)(g); I (2)(g).

       73.     OSU gave itself leeway, however, during this preliminary, unofficial investigation,

to continue gather evidence against suspected “perpetrators” without giving them formal notice.

       74.     After providing notice, the EOA served as the primary official investigator for

allegations of sexual misconduct. Code, 5.1; Policy, 5.1.2.

       75.     In determining whether a student violated the relevant portion of the Code, the

University used the preponderance of the evidence standards, or in other words, determined

whether it is “more likely than not” that the prohibited alleged conduct occurred. Code at 5.2.

       76.     Students are afforded the opportunity to bring one advisor of their choosing to any

meetings and proceedings that may result. Code, 5.5. However, the Code is clear that advisors are

“not permitted to speak on behalf of the student.” Id.




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       77.     The University utilizes “Administrative Conferences” to resolve conduct violations

that are not academic in nature, the purpose of which is to “provide an equitable forum for the

review of the available information regarding an alleged incident of misconduct.” Code, 5.8.

       78.     “During the administrative conference, the student has the opportunity to explain

their account of what happened before, during and after the incident and to provide additional

information, witnesses, and context relevant to the report or allegation.” Code at 5.8(3).

       79.     The officer of such proceeding then solely determines whether the student is found

responsible or not responsible for each of the separate violations and will “consult” with the

Director of SCCS to determine “appropriate sanctions.” Id.

       80.     A case also may be referred to a committee hearing. Code, 5.9. A hearing panel of

three individuals is composed of at least one faculty member and at least one student, all of whom

have been purportedly “trained” pursuant to OSU’s policies. Id.

       81.     Sanctions imposed can include anything up to and including expulsion.

       82.     Pursuant OSU’s Rules, the University retains the student’s conduct record for a

minimum of 75 years when suspensions, expulsions, or degree revocations are imposed. Code,

6.3.

       83.     A student can appeal a decision on any or all of the following grounds: (i) “[a]n

action or omission that occurred that was not in accordance with the procedures outlined in

or…was fundamentally unfair, which substantially impacted the outcome”; (ii) new evidence

exists that was previously unavailable; and (iii) “the sanctions imposed are disproportionate given

the context of the violation.” Code, 8.2.




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             84.      The Procedures note that the EOA “will attempt to resolve all complaints as

promptly as possible, consistent with the need to conduct sensitive and informed fact-gathering to

ensure an equitable resolution.” Procedures, F.

       IV.         During the Spring and Summer of 2019, John Doe and Jane Roe’s Casual

                   Friendship Became More Flirtatious

             85.      Doe and Roe, a then-fellow undergraduate student at OSU, met through Doe’s

service as the manager for a women’s varsity athletic team at OSU. At the time, Roe was a member

of that same team.

             86.      In June 2019, Doe encountered Roe while waiting in line to enter a local bar. Roe

asked Doe for his Snapchat username and added him as a “friend” on the social media platform.

             87.      Jane Roe and John Doe began communicating on the application Snapchat,

beginning in June of 2019.

             88.      During this same time period, Doe asked his friend Joy Jones 4 whom he should

bring to an upcoming wedding, and she suggested Jane Roe. Doe told Jones that he was unsure

whether Roe would want to attend. Jones responded that Roe had told Jones to suggest her as

Doe’s wedding date, showing Roe’s interest in Doe.

             89.      On July 12, 2019, Roe initiated conversation with Doe, via Snapchat message. Roe

invited Doe to a gathering that same evening and also over to her residence before the gathering

for a pre-gathering drink. Doe did not know of either gathering until Roe invited him. Doe

informed Roe that he would not be able to attend the pre-gathering at her residence due to his work

schedule, but would try to attend the later gathering.




4
    Plaintiff refers to Joy Jones pseudonymously and is prepared to confidentially disclose her identity to the Court.

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       V.         During the Night of July 12-13, 2019, John Doe and Jane Roe Engaged in a

                  Consensual Sexual Encounter

            90.      On July 12, 2019, Plaintiff attended a gathering at an OSU unofficial team house.

            91.      Upon Doe’s arrival, Roe immediately approached him, excitedly greeted him with

a hug, and spoke his name in a cheerful tone.

            92.      Doe then noticed his other friend, Jen Smith 5, walking by, and tapped her on the

shoulder to greet her. While Doe remained engaged in conversation with Smith, Roe interrupted

the conversation between Doe and Smith to give him a second hug.

            93.      After Doe’s encounter with Roe and Smith, Doe continued to greet other friends

and members of the team he was managing and made his way through the gathering. Doe

exchanged pleasantries with others for about 15-20 minutes.

            94.      Doe and Smith then reconnected and continued talking in a vacant room beside the

kitchen. The two of them discussed how strange they both found it that Roe had interrupted their

conversation earlier to give Doe a second hug. Smith suggested that the hug appeared to be an act

of jealousy.

            95.      When Doe returned to the living room, Roe approached Doe again, hugged him for

a third time that evening, and took a photo of them together and then went along with her evening.

            96.      For the remainder of the gathering, Doe spoke with a fellow student and friend,

discussing an upcoming internship that Doe had applied for with the United States Secret Service.

Doe’s friend shared in Doe’s excitement over his lifelong dream finally coming to fruition.

            97.      As the gathering wound down, Doe went outside and crossed paths with a group of

friends who invited Doe to join them at their next destination—a bar called ClodFelter’s Public


5
    Plaintiff refers to Jen Smith pseudonymously and is prepared to confidentially disclose her identity to the Court.

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House (“ClodFelter’s”). Doe, and the others, then filed into an Uber and headed to ClodFelter’s,

leaving the party between approximately 11:00 pm and 11:30 pm. Doe was unaware of Roe’s

whereabouts or when she left the party.

          98.    Between approximately 12:30 am and 1:00 am, Doe received a text message from

Roe’s roommate, Joy Jones, inviting him to their apartment, so he ordered a Lyft, intending to

head over. The Lyft driver left while he was in the bathroom, however, so he ended up getting a

ride from a friend.

          99.    When Doe arrived at Jones and Roe’s apartment, he found Jones waiting for him in

the hallway. She greeted Doe with a hug, and invited him to follow her into the apartment, which

he did.

          100.   Roe was in the bathroom upon Doe’s arrival. Jones invited Doe into the bathroom

with her to join Roe. Doe observed that Roe was alert, fully conscious, and her eyes were wide

open. Roe also spoke casually during this time with both Doe and Jones.

          101.   After obtaining Roe’s permission, Jones invited Doe to sleep on the couch in their

apartment and stated she would go to bed herself.

          102.   Doe then asked Roe whether she wanted to go to bed as well, to which she replied

“mhmm” and nodded her head. Roe then grasped Doe’s hand and stood up.

          103.   Roe did not release Doe’s hand. Instead, she guided Doe to her room, by holding

his hand as she walked, leading him behind her. Roe walked normally; she did not stagger or sway.

          104.   Roe walked straight to her bed, intentionally laid back on it, and pulled Doe down

on top of her.

          105.   Roe then wrapped her hands around Doe’s neck, pulled him in towards her, and

kissed him on the mouth.



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       106.    After a few moments, Doe leaned back and asked Roe whether she wanted to

continue. Roe said, “yeah” and pulled Doe back toward her. As Roe and Doe kissed on Roe’s bed,

Doe asked Roe several times whether she was sure they should be doing this. Roe continued to

reply yes, and kept kissing Doe, without any hesitation whatsoever.

       107.    As they continued to kiss, Roe asked Doe to shut her bedroom door. Doe got off

the bed and complied. It took him a few moments to shut it because the door was stuck on

something. When Doe turned around, he was surprised to find that Roe had removed all of her

clothing. Doe once again asked whether it was a good idea if him and Roe proceeded, to which

Roe replied, “shh, it’s fine!” and pulled Doe back onto her bed.

       108.    Doe and Roe resumed kissing. Roe then started grabbing Doe’s belt, trying to undo

it. He paused to remove his belt and pants himself, and shortly thereafter, the two became intimate,

proceeding to engage in sexual intercourse.

       109.    During sexual intercourse, Doe paused again to ask Roe whether she wanted to

continue. She responded “yes.” He asked the same question, several more times while they were

having sex and waited for her to nod affirmatively before continuing.

       110.    After one such inquiry, Roe climbed on top of Doe and they continued to have sex

in that position. While they were having sex with her on top, she stated, “I can’t believe we are

doing this!” showing that she was an active and engaged participant.

       111.    Throughout their sexual encounter, Roe continued to moan and nod her head,

exhibiting her desire to continue.

       112.    Eventually, Doe could no longer perform, but judged from her behavior that Roe

was not ready to end their encounter. He therefore asked Roe for permission to use his hands to

penetrate her, to which she moaned, “yes.” Doe then stimulated Roe with his hands; Roe moaned



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and repeated the word “yes” again and again. Afterwards, Doe and Roe lay back in Roe’s bed,

relaxed, and talked.

          113.   Between 2:30 and 3:00 am, they fell asleep side by side.

          114.   Doe woke up around 5:00 am and decided to go back to his apartment, across the

street.

          115.   He covered Roe who was still sleeping, petted the cat, locked the front door, and

left.

          116.   Doe then retrieved his bike at his apartment, picked up his car, which he had left

parked on the street in front of the team house the previous night, and returned to his apartment.

          117.   At approximately 8:30 am that morning, Roe sent Doe a message via Snapchat that

stated “hahahahahaha oh my god did that really happen last night” and then, before Doe had any

opportunity to respond, Roe immediately sent another message stating that she and Doe should not

tell anyone about this. Doe replied okay.

          118.   Doe then sent a laughing emoji and followed up stating that it was good to see Roe

the previous evening. Roe replied that it was good to see Doe too.

          119.   Doe and Roe exchanged casual messages via Snapchat later that day, as well.

    VI.      Months Later, During a Period of Intense Personal Turmoil, Roe Accused Doe of

             Sexual Misconduct, an Allegation OSU Accepted as True

          120.   Initially, Doe and Roe remained friendly acquaintances after the evening of July

12-13, 2019, interacting with one another the same way they had in the months preceding their

consensual sexual encounter.




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        121.    During the week after July 13, 2019, Roe and Doe continued to message each other

via Snapchat. Doe asked Roe to go on a date with him. Roe declined the date, but told Doe that

she thought he was a “great guy,” and again asked him to not tell anyone about their encounter.

        122.    Doe and Roe also worked at a long weekend athletic camp together in July of 2019,

just one week after the encounter. Roe acted as she usually did around Doe, for example, going

out of her way to high five him.

        123.    During their time working at the athletic camp together, Doe posted a photo to his

Snapchat story of him with the OSU golf cart. Roe replied to this story, asking Doe to take her and

another friend on the golf cart. Doe later did take Roe and her friend on a ride in the golf cart, as

requested. Roe sat beside Doe in the front seat, with her friend in the back. Roe flirted and joked

with Doe.

        124.    During the athletic camp, Jen Smith, who worked at a different athletic camp

occurring at the same time on campus, saw Doe during lunch. Doe and Smith came together to

talk and catch up outside of the cafeteria. Roe, seemingly out of nowhere, came right over and cut

in between them, stating, “excuse me,” even though there was ample space around them for her to

move.

        125.    Throughout August of 2019, as team practice resumed, Doe and Roe remained

friendly.

        126.    Roe sent Doe a few messages via Snapchat, asking Doe his opinion on why her

position was moved on the team. Doe replied that he did not know but speculated that the coach

moved positions where it would serve the team best.

        127.    Later in August of 2019, at a team dinner at the coach’s house, Roe cheered

enthusiastically for Doe as he led a team ice breaker game.



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        128.    On or around August 24, 2019, Roe joked around with Doe in a friendly manner

during a trip to an away game.

        A. During the Fall of 2019, Doe Received a Dream Job Opportunity, Launching into

             His Desired Career Path

        129.    Plaintiff Doe has had a lifelong dream of working for the United States Secret

Service.

        130.    After a rigorous interview and vetting process, Doe was elated to receive an

internship opportunity with the Secret Service, beginning late September 2019, which required

him to move to Seattle, Washington.

        131.    Upon information and belief, the interview process included not only several

personal interviews, but also, among other things: (i) substantial background checks; (ii) security

clearance requirements; (iii) disclosure of all citizenship of self and relatives; (iv) drug testing and

history; and (v) medical examination.

        132.    The United States Secret Service was so thorough and extensive in their vetting

process, that Special Agents interviewed several of Doe’s hometown neighbors, friends, and

parents of friends from high school, and knocked on several doors in Doe’s apartment building at

OSU to speak to his neighbors, including his landlord.

        133.    The fact that Doe was cleared for the internship following such a thorough process

by the United States Secret Service supports his contention that his record at that time was spotless.

        134.    Doe notified the coach of the team he was managing that he was leaving for an

international trip and that he would not be able to serve as team manager for the remainder of the

season due to his upcoming internship.




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       135.     Doe then embarked upon a two-week international trip with his sister, beginning

on or around Labor Day weekend of 2019.

       136.     During Doe’s international trip with his sister, he did not have any contact with

Roe. Doe began his internship with the Secret Service at the end of September in 2019.

       B. Meanwhile, The Dynamics on the Team That Doe Managed Changed in Ways That

             Adversely Impacted Roe

       137.     Upon information and belief, long before Doe began serving as manager of Roe’s

athletic team, playing time was determined by a variety of factors, with heavy weight placed on

seniority.

       138.     Sometime before Doe stepped into his new role as manager of the athletic team, the

University hired a new coach for that same team.

       139.     Upon information and belief, the new coach shifted the dynamics of the team. By

way of example, the coach awarded hard workers with superior skills playing time, and always

looked to put the team in the best position to win week in and week out. Prior to his arrival, upon

information and belief, playing time was determined by a variety of factors, including heavy

weight on seniority.

       140.     As a result, Roe—a senior at the time—struggled on the team, and lost substantial

playing time, including her starting position. Roe then incurred an injury, which obstructed her

progress even further.

       141.     Roe, who prided herself on being an athlete, became severely discouraged. She

made no secret of this, openly speaking about her concerns amongst those on the team, stating she

felt “mistreated,” and expressing visible frustration.




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       C. Roe Accused Doe of Sexual Misconduct and, After Further Personal Setbacks,

             Followed Up with the EOA Regarding Her Case

       142.     Roe filed a complaint against Doe with OSU sometime in the Fall of 2019.

Specifically, Roe alleged that she and Doe engaged in non-consensual contact, non-consensual

intercourse, and non-consensual sexual activity on or around the early morning of July 13, 2019.

Upon information and belief, the EOA reached out to Roe approximately four times during the

course of the Fall of 2019 to schedule a meeting with her regarding her allegations, but she did not

respond.

       143.     During a game on or around October 6, 2019, Roe played well and triumphantly

scored, leading the team to victory. However, she did not regain her starting position.

       144.     Upon information and belief, Roe responded to the EOA on or around October 9,

2019 (approximately three days after her game) and scheduled a meeting.

       145.     On or around October 11, 2019, the EOA conducted their intake with Roe.

       146.     On or around October 17, 2019, Roe “announced” on social media, with a lengthy

caption and only two games remaining in the season, that she had quit the team she was a member

of. She noted that she “achieve[d] a dream of playing [sport] in the Pac-12.” The caption, in

relevant portion, continued with, [m]oving forward, I have decided to remove myself from the

team for the remainder of the season. It was an extremely difficult decision for me as you can

imagine, in the middle of conference play during my last year…[f]or personal reasons this

environment no longer ethically aligns with my core values as a person, and as a…player.”




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       D. Around the Time Roe Made Her Initial Report That Fall, OSU Removed Doe From

              His Position as Manager of the Athletic Team Without Any Notice or Explanation

       147.      After Doe returned to campus from his international trip on September 23, 2019,

but before he started his internship, he attended a team practice and stated that although he would

not be able to manage the team that season, he would be happy to help the team for a few more

days. The coach and the players showed enthusiastic support and understanding for Doe.

       148.      The very next day, Doe attended a team practice.

       149.       Later that same day, seemingly out of the blue, Doe received a text message from

the coach, notifying him that he would no longer be part of the team program, was not allowed to

have contact with anyone on the team, and could not show up to anything related to the team

moving forward.

       150.      Upon information and belief, this same coach is no longer employed at the

University.

       151.      Doe was crushed by this text message, as he thoroughly enjoyed being manager of

the athletic team.

       152.      Doe never received any formal notice from the University regarding his

participation as manager of an athletic team.

       153.      Doe did as instructed and immediately reached out for further details to the Deputy

Athletic Director and Office of Equal Access.

       154.      Doe repeatedly asked why he was removed from the team, but received no clear

answers from the University.




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   VII.      OSU Finally Formally Notified Doe That He Was Under Investigation

       155.     On or around October 17, 2019, the EOA sent Roe a record of her interview and

summary. Upon information and belief, she replied on or around October 28, 2019 to confirm that

it appeared accurate.

       156.     Doe learned that fall that Roe had made a complaint to the local police. Upon

information and belief, the local district attorney declined to pursue any charges due to lack of

credible evidence.

       157.     Upon information and belief, on or around February 3, 2020, the EOA again

contacted Roe, asking whether she wanted to move forward with the complaint, and she said she

did.

       158.     On February 11, 2020, Doe received a letter of notice (the “Notice”) from Becky

Bangs, Equity Associate, indicating that her office had “received information” that suggested Doe

may have violated the Code and Policy, and that the EOA would conduct an “impartial

investigation into the allegations” (the “Investigation”).

       159.     The Notice informed Doe that he was, “charged with violating the following

provisions of the…Code,” including: (i) Code Section 4.3 (24), Unlawful Behavior; (ii) Code

Section 4.4 (28), Non-Consensual Sexual Contact (“also found at…Policy 05-001-5.3.2.b”); (iii)

Code Section 4.4 (29), Non-Consensual Intercourse (“also found at…Policy 05-001-5.3.2.c”); and

(iv) Code Section 4.4 (30), Non-Consensual Sexual Activity (“also found at…Policy 05-001-

5.3.2.d”).

       160.     The Notice stated that “OSU received a report that [Doe] engaged in non-

consensual sexual contact, non-consensual sexual intercourse, and non-consensual sexual activity”

with Roe “on or around the early morning of July 13, 2019” at Roe’s residence.



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       161.    The Notice also noted that the “responding party is presumed to be not responsible

unless and until the investigation has concluded and there is a preponderance of the evidence that

a Code and/or Policy violation occurred.”

       162.    The Notice highlighted that the EOA had retained Beverly Russell, “an outside

investigator…to conduct the investigation of the complaint on behalf of EOA.” Ms. Russell, per

the Notice, was required to “serve as a neutral factfinder and gather evidence.”

       163.    The Notice requested that Doe contact Ms. Russell within three business days to

“set a date and time” for the “initial meeting,” which would include an “overview of the process,

summary of allegations, [and] reminder of your resources and rights…”

       164.    However, this initial meeting would not merely be informational. Ms. Bangs stated

in the Notice that “[t]he meeting, as well as any subsequent meetings, will also provide an

opportunity for you to offer information and testimony on your own behalf.”

       165.    Notably, the University declined to put a no contact order in place between Doe

and Roe.

   VIII. The University Conducted a Procedurally Flawed and Biased Investigation,

           Refusing to Consider Doe’s Polygraph Exam Results, Which Supported His

           Account, Refusing to Hear From His Witnesses, and Refusing to Ask Roe or Her

           Witnesses Relevant, Important Questions

       166.    Doe promptly responded to the Notice (on or around February 14, 2020) and

scheduled his meeting with Ms. Russell for March 12, 2020.

       167.    Upon information and belief, before meeting with Doe, Ms. Russell interviewed

eight people suggested by Roe, including at least one person who had not observed Roe and Doe

together on the night in question.



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        168.   Upon information and belief, Ms. Russell emailed Roe for information pertaining

to the Investigation on or around February 19, 2020, but. Roe failed to respond at that point in

time.

        169.   On March 5, 2020, Doe voluntarily submitted himself to a polygraph examination

to establish his innocence.

        170.   During the polygraph examination, the administrator—a licensed polygrapher—

asked Doe a series of questions related to the alleged incident. For instance, they asked Doe if Roe

was awake and actively participated in intercourse that evening, to which Doe replied yes.

        171.   The polygrapher concluded that Doe’s responses during the examination, including

his response the above question, were “consistent with the usual indications of truthfulness.”

        172.   Doe attempted to submit the polygraph examination results as evidence for the

Investigation. The University declined to consider this important piece of evidence without

pointing to any relevant policy or giving any meaningful explanation, stating merely that they are

generally not considered.

        173.   Doe met with Ms. Russell and Ms. Bangs, along with his advisor, on March 12,

2020. This meeting constituted Doe’s one and only investigation interview.

        174.   From the onset, Ms. Russell operated with a bias against him and presumed him

guilty. Doe observed that she viewed him with disdain during the meeting and felt as though his

protestations of innocence were falling on deaf ears.

        175.   Doe offered a list of witnesses to be interviewed, but OSU declined to interview

over 75% of them (more than seven).




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       176.    Notably, OSU declined to interview witness Jen Smith, notwithstanding that Smith

had observed Doe and Roe on the evening of the alleged incident, as well as in several other

interactions, including the interactions at the athletic camp in July of 2019.

       177.    Doe specifically requested OSU to interview Smith at least twice. The University

declined without explanation.

       178.    Meanwhile, OSU ultimately interviewed, upon information and belief, at least 10

people suggested by Roe, speaking to some of them multiple times. Upon information and belief,

some of them had not witnessed any interactions between Doe and Roe that evening.

       179.    Upon information and belief, OSU also spoke with Roe multiple times. Upon

further information and belief, she claimed that she was too intoxicated to remember having sex

with Doe.

       180.    Doe submitted over a dozen questions for the investigator to ask Roe and her

witnesses, but the University asked only one or two.

       181.    On July 23, 2020, OSU released the Investigation Report (the “Investigation

Report”) to Doe and Roe, through a secure server, which prohibited Doe from saving or printing

the Investigation Report.

       182.    Despite Doe’s internally consistent, detailed, and believable account of the events

that transpired, coupled with their knowledge that Doe had passed a polygraph, and despite the

fact that Roe’s claim that she could not remember having sex with Doe was contradicted by her

own Snapchat message where she asked him not to tell anyone what occurred, OSU found Roe’s

accusations credible.

       183.    Doe could respond to the points in the Investigation Report, but only using the

secure server. OSU did not permit Doe to retain a copy of the Investigation Report.



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          184.   Doe submitted his response to the Investigation Report (the “Response”) on August

7, 2020 to Ms. Millie, Director of Student Conduct and Community Standards.

          185.   In his Response, Doe noted, inter alia, that Roe’s claims of extreme intoxication

such that she could not remember having sex with him were belied by her behavior in her

apartment that evening. Doe noted that after he went to Jones and Roe’s apartment, Doe observed

Roe being conscious, coordinated, and walked without any staggering or swaying. Roe showed no

signs that she was visibly intoxicated.

          186.   He also highlighted that his polygraph results had not been considered.

          187.   Additionally, Doe questioned the authenticity and relevance of a video excerpt

purporting to show Roe’s behavior that evening, noting that he had not been permitted to pose any

questions regarding the video. Upon information and belief, OSU failed to authenticate the video’s

veracity as to the time, date, place, and individuals involved, despite that it appeared to have been

edited.

          188.   Doe also emphasized that of the more than 12 questions that he submitted to be

posed to Roe and other witnesses, upon information and belief, OSU did not pose more than one

or two total.

    IX.      OSU Incorrectly Found Doe Responsible

          189.   On October 2, 2020, Ms. Millie notified Doe that the University found him

responsible for the following violations of the Code: (i) Section 4.4 (28), Non-consensual Sexual

Contact (Policy 05-001-5.3.2.b); (ii) Section 4.4 (29), Non-Consensual Sexual Intercourse (Policy

05-001-5.3.2.c); and (iii) Section 4.4 (30), Non-Consensual Sexual Activity (Policy 05-001-

5.3.2.d). The University did not find Doe responsible for the fourth charge.




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        190.   As a result of the findings of responsibility, Ms. Millie imposed a two-year

suspension upon Doe effective immediately, until September 2, 2022 (the “Sanction”).

        191.   This Sanction was particularly egregious because Doe had already completed all of

his credits at OSU. He had no reason to physically be on the OSU campus ever again. All that

stood between him receiving his degree was the University officially conferring his degree.

   X.      The University Unfairly Denied Doe’s Appeal

        192.   In October 2020, Plaintiff Doe timely submitted his appeal of the outcome in

accordance with Section 8 of the Code. Plaintiff once again asserted his complete innocence of the

allegations and appealed on the grounds that: (i) numerous actions or omissions violated OSU’s

own policies or were fundamentally unfair and substantially impacted the outcome; and (ii) the

sanction the University imposed was grossly disproportionate given the context of the violation.

        193.   The procedural errors that Plaintiff highlighted in the appeal included, but were not

limited to, the following: (i) failure to interview over 75% of Doe’s witnesses, including key

witness Jen Smith; (ii) refusal to ask follow up questions submitted by Doe; (iii) failure to consider

his polygraph examination results; and (iv) failure to address problems with Roe’s credibility.

        194.   Doe also emphasized that the sanction—a suspension until September 2, 2022—

was grossly disproportionate to the violation. Plaintiff noted that he had completed all of his credits

at OSU and had no intention of ever physically returning to campus, therefore there would be no

opportunity for him to interact with Roe, or any members of the team he used to manage.

        195.   In spite of this, Dan Larson, Vice Provost for Student Affairs denied Doe’s entire

appeal on November 2, 2020.

        196.   After Mr. Larson denied the appeal, OSU removed Doe’s access to all school emails

and campus systems.



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   XI.      John Doe Suffered Significant Harm as a Result of OSU’s Actions

         197.   Plaintiff Doe has already suffered and will continue to suffer significant damages

as a result of OSU’s erroneous findings of responsibility and resulting suspension.

         198.   In addition to the damages, Doe will suffer as a result of a permanent disciplinary

notation on his academic record, the resultant delay in his anticipated graduation date, and the

disclosure to all potential graduate schools and future employers that he was erroneously found

responsible for sexual misconduct, Doe has already suffered immense irreparable harm with

respect to his career in the United States Secret Service.

         199.   Specifically, Doe lost the opportunity to pursue a lifelong career in any United

States governmental agency, and specifically the United States Secret Service. Prior to the finding,

Doe performed exceptionally at his internship, so much so that the United States Secret Service

had all but guaranteed a job for him upon graduation. They encouraged him to apply for positions

in Washington, D.C, as they felt he would have been well suited for that environment. However,

due to the investigation and resulting wrongful finding of responsibility, Doe lost that opportunity.

         200.   As a result of OSU’s biased and flawed investigation, resulting in the erroneous

decision to suspend Plaintiff, Plaintiff suffers mental anguish and anxiety.

         201.   As a further result of OSU’s actions, Doe has suffered a loss of current and future

earnings.




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                          AS AND FOR A FIRST CAUSE OF ACTION

    Violation of Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681 et seq.

                                         Erroneous Outcome

               (Against Defendants OSU, the Board, Kirkland, Johnson, and Feser)

        202.     Plaintiff repeats and realleges each and every allegation hereinabove as if fully set

forth herein.

        203.     Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681 et. seq., provides,

in relevant part:

                 No person in the United States shall, on the basis of sex, be excluded
                 from participation in, be denied the benefits of, or be subjected to
                 discrimination under any education program or activity receiving
                 Federal financial assistance.

        204.     Title IX applies to all public and private educational institutions that receive federal

funding, which includes Defendant Oregon State University.

        205.     Title IX may be violated by a school’s failure to remedy sexual harassment, and by

a school’s imposition of discipline where gender is a motivating factor in the decision. In either

case, the statute is enforceable through an implied private right of action. See Cannon v. Univ. of

Chicago, 441 U.S. 677 (1979).

        206.     Students attending public universities such as the University who have been

accused of sexual misconduct, have a right to due process under Title IX. See U.S. Dep’t of

Education, Office for Civil Rights, Revised Sexual Harassment Guidance: Harassment of Students

by School Employees, Other Students, or Third Parties -- Title IX (2001) (the “2001 OCR

Guidance”) at 22; 2011 Dear Colleague Letter at 12.

        207.     Both the DOE and DOJ have promulgated regulations under Title IX that require a

school to “adopt and publish grievance procedures providing for the prompt and equitable

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resolution of student...complaints alleging any action which would be prohibited by” Title IX or

regulations thereunder. 34 C.F.R. § 106.8(b) (Dep’t of Education); 28 C.F.R. § 54.135(b) (Dep’t

of Justice) (emphasis added); Doe v. Univ. of Oregon, No. 6:17-CV-01103-AA, 2018 WL

1474531, at *14 (D. Or. Mar. 26, 2018). Such prohibited actions include all forms of sexual

harassment, including sexual intercourse, sexual assault, and rape. 6

        208.     In evaluating whether a school’s grievance procedures are “prompt and equitable,”

the OCR in effect at the time of Doe’s investigation identified several elements, including whether

the school “provides notice of . . . how to file a complaint”; “ensures an adequate, reliable, and

impartial investigation of complaints, including the opportunity to present witnesses and other

evidence”; and “designates and follows a reasonably prompt time frame for major stages of the

complaint process.” See 2017 Q&A, supra, at 3.

        209.     Challenges to university disciplinary proceedings for sex discrimination can fall

into two categories: (1) “erroneous outcome” cases, in which the claim is that the plaintiff was

innocent and wrongly found to have committed an offense and gender bias was a motivating factor

behind the erroneous findings; and (2) “selective enforcement” cases, in which the claim asserts

that, regardless of the student’s guilt or innocence, the severity of the penalty and/or decision to

initiate the proceeding was affected by the student’s gender.

        210.     To plead an erroneous outcome claim under Title IX, a plaintiff found guilty of

sexual misconduct by a university must allege: (1) facts sufficient to “cast some articulable doubt

on the accuracy of the outcome of the disciplinary proceeding” and (2) show “gender bias was a




6
 See generally U.S. Dep’t of Education, Office for Civil Rights, Revised Sexual Harassment Guidance: Harassment
of Students by School Employees, Other Students, or Third Parties -- Title IX (2001) at 19-20, 21 & nn. 98-101.

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motivating factor.” Doe v. Univ. of Oregon, No. 6:17-CV-01103-AA, 2018 WL 1474531, at *14

(D. Or. Mar. 26, 2018); Yusuf v. Vassar Coll., 35 F.3d 709, 715 (2d Cir. 1994).

       211.    An erroneous outcome occurred in Plaintiff’s case. Plaintiff Doe was innocent and

wrongly found to have committed a violation of the University’s Policy and Code, and gender bias

was a motivating factor.

       212.    With respect to the first element, the University’s finding that Plaintiff was guilty

of sexual misconduct was plainly erroneous. The “pleading burden in this regard is not heavy” and

can be met by alleging “particular procedural flaws affecting the proof.” See Yusuf, 35 F.3d at 715.

       213.    Facts casting much more than “articulable doubt” on the accuracy of the outcome

are described in detail above; they include, but are not limited to, the following:

           a. OSU declined to consider Doe’s lie detector examination results; yet could not

               point to a single policy provision explicitly prohibiting it. The examination was

               administered by a licensed polygrapher who concluded that Doe’s responses during

               the examination “were consistent with the usual indications of truthfulness.”

           b. The University rejected Doe’s claim that Roe had consented to sexual intercourse,

               even though he was able to identify numerous specific behaviors that had led him

               to that conclusion, such as: (i) Roe guiding Doe to her room by holding his hand;

               (ii) Roe pulling him down on top of her; (iii) Roe putting her hand around his neck

               and kissing him; (iv) Roe willingly removing all of her clothing while Doe went to

               close the door; (v) Roe climbing on top of him and having sex with him in that

               position; (vi) Roe responding both verbally by stating “yes” and “yeah” and non-

               verbally by moaning and nodding her head yes, in the affirmative, when Doe asked




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     her at various stages whether she wanted to continue, and throughout the sexual

     interaction in its entirety.

  c. The University summarily dismissed Doe’s assertions and retelling of how Roe was

     fully alert and in her full capacities during their entire encounter, including how

     Roe did not stagger or sway as she walked, and remained alert and coherent.

  d. OSU declined to interview over 75%—over seven—of the witnesses that Doe

     provided for the investigation.

  e. The University declined to interview at least one critical witness, Jen Smith, who

     could have testified regarding Roe’s apparent attraction to Doe and the interactions

     between Doe and Roe before, during, and after the evening of the alleged incident,

     as she witnesses these encounters first-hand.

  f. OSU refused to ask critical questions that Doe wanted the investigator to ask Roe

     and other witnesses, to establish crucial facts in the matter.

  g. OSU failed to afford Doe any opportunity to review and respond to critical pieces

     of evidence offered against him.

  h. The University failed to provide any permanent and/or hard copy of the

     Investigation Report, thereby depriving Doe of adequately defending himself

     against the allegations.

  i. In assessing credibility, OSU failed to consider Roe’s motivations for filing the

     complaint against Doe, namely, in connection with her status on the athletic team.

  j. In assessing credibility, OSU failed to consider that Roe’s claim that she did not

     remember having sex with Doe was contradicted by subsequent communications.




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           k. In assessing credibility, OSU failed to account for Doe’s previously spotless record,

              as supported by his substantial background check done by the United States Secret

              Service.

           l. OSU removed Doe as the manager of the relevant team approximately five months

              prior to sending a letter of Notice, in violation of their own policies. In fact, OSU

              never sent Doe a formal notice of an interim measure—removal from student

              activities—at all.

           m. OSU failed to afford Doe the requisite presumption of innocence; in its Rules, OSU

              frequently used loaded terms like “perpetrator,” “victim,” and “survivor,” all of

              which are strongly indicative of a presumption of guilt.

       214.   Second, there are numerous circumstances demonstrating that the University’s

partiality toward Roe as the female accuser, and bias against Doe as the male accused, led to the

erroneous findings and resulting obstruction of Doe’s ability to participate in and benefit from

OSU’s educational program. These circumstances include, inter alia:

           a. The University presumed Doe guilty from the outset due to his gender.

           b. Upon information and belief, the training of those involved in the process is biased

              and problematic, and places those who are trained in a mindset to assume that

              female complainants are the “victims” and male respondents are “perpetrators.”

           c. Ms. Bangs’ and Ms. Russell’s viewed Doe with obvious disdain, while

              simultaneously being dismissive of his comments and assertions during his

              encounters with them.




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           d. OSU applied its policies and procedures in a manner that discriminated against

              Plaintiff Doe on the basis of his sex and led to an erroneous outcome, as set forth

              above, in the alphabetized list set forth above, which is incorporated again herein.

           e. The Investigator conducted numerous interviews prior to Doe’s first interview, thus

              creating a bias against Doe and resulting in a failure to afford a thorough and

              impartial investigation.

           f. The Investigator misapplied the preponderance of the evidence standard when she

              found Roe’s account of the events to be more credible than Doe’s.

           g. The University disregarded Doe’s detailed account of things Roe had done and said

              to indicate affirmative consent, most notably including her moaning, saying yes,

              and nodding her head.

           h. The University failed to afford Doe the requisite presumption of innocence, as

              evidenced in part by the liberal use of problematic terms suggesting a presumption

              of guilt, like perpetrator, victim, and survivor.

           i. The University failed to ask Doe’s questions of his accuser.

           j. The University failed to afford Doe with a hearing without a predetermined result

              and meaningful opportunity to confront his accuser with questions.

           k. The removal of Doe as an athletic team manager without any process or formal

              notice whatsoever.

       215.   OSU also imposed an unwarranted and unjustly severe sanction upon Plaintiff Doe,

and gender bias was a motivating factor, for the same reasons as described above.




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       216.    The foregoing demonstrates that the University subjected Plaintiff to a biased,

prejudiced, and unfair process in violation of Title IX designed to find him, the male, responsible

for sexual misconduct and to punish him severely for it.

       217.    In January 2020, NASPA, the National Organization of Student Affairs

Administrators in Higher Education, which has 15,000 members representing more than 1,500

institutions, issued a study, “Expanding The Frame: Institutional Responses to Students Accused

of Sexual Misconduct.” The study, intended to refute “the common narrative that institutions are

not concerned with responding parties’ rights in sexual misconduct cases,” essentially evidenced

to the contrary that widespread institutional bias against the accused starts at the very inception of

a complaint, prior to any investigation or adjudication. In a process governed by the enforcement

of Title IX gender equality, and in which the overwhelming majority of accused students are male,

the survey reported that only five percent (5%) of schools have even one full-time employee to

assist accused students; eighty-five percent (85%) have no budget dedicated specifically to

providing services for accused students; and for accused students “no established best practices

currently exist, and most institutions are only just developing these programs, identifying what

specific services are needed, and exploring what is equitable or equal.” While alleged “victims”

have entire departments of advocates funded by the institution dedicated to their needs, only 13%

of colleges and universities have a staff member reach out “directly to responding parties about

support services available.” The study suggests that accused students are left to defend themselves

by administrators “due to perceived pushback from members of the campus community who

disagree with providing respondent services.”




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        218.    Upon information and belief, the University also faced additional pressure to

vindicate female complainants against male respondents because of the prior OCR complaints

launched against them.

        219.    The pressure on the University to vindicate female students alleging violations of

the Policy in any manner caused the University to subject Plaintiff to a biased and unfair process,

which was tilted in favor of the female complaint and against the male respondent.

        220.    A university that is motivated to take adverse action against an accused male in

order to respond to, or protect itself from, negative publicity about sexual harassment is motivated

by gender bias and engages in unlawful sex discrimination under Title IX. See Doe v. Columbia

Univ., 831 F.3d 46, 58 (2d. Cir. 2016) (stating that “fear of negative publicity or of Title IX

liability[] are not necessarily . . . lawful motivations distinct from sex bias,” and that an institution

“that adopts, even temporarily, a policy of bias favoring one sex over the other in a disciplinary

dispute . . . in order to avoid . . . bad publicity[] has practiced sex discrimination, notwithstanding

that the motive for the discrimination did not come from ingrained or permanent bias against that

particular sex”).

        221.    Upon information and belief, OSU has faced public pressure and publicity

regarding their Title IX practices and procedures.

        222.    University officials possessed the authority to stop the wrongdoing. By doing

nothing, they were deliberately indifferent to Doe and similarly situated male students charged

with similar alleged violations under the Policy and Code.

        223.    This unlawful discrimination in violation of Title IX proximately caused Plaintiff

Doe to sustain substantial injury, damage, and loss, including, but not limited to, mental anguish,




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severe emotional distress, injury to reputation, past and future economic loss, deprivation of fair

process, loss of educational opportunities, and loss of future employment prospects.

        224.     Based on the foregoing, Plaintiff was subjected to a biased, prejudiced and unfair

process in violation of Title IX designed to find him, the male, responsible for sexual misconduct

and be punished severely for it.

        225.     As a result of the foregoing, Doe is entitled to expungement of his record, conferral

of his degree, damages in an amount to be determined at trial, plus prejudgment interest, attorneys’

fees, expenses, costs, and disbursements.

                         AS AND FOR A SECOND CAUSE OF ACTION

    Violation of Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681 et seq.

                                             Gender Bias

               (Against Defendants OSU, the Board, Kirkland, Johnson, and Feser)

        226.     Plaintiff repeats and realleges each and every allegation hereinabove as if fully set

forth herein.

        227.     Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681 et. seq., provides,

in relevant part:

                 No person in the United States shall, on the basis of sex, be excluded
                 from participation in, be denied the benefits of, or be subjected to
                 discrimination under any education program or activity receiving
                 Federal financial assistance.

        228.     Title IX applies to all public and private educational institutions that receive federal

funding, which includes Defendant Oregon State University.

        229.     Title IX is enforceable through a private right of action.

        230.     While some circuits continue to analyze Title IX claims under the prior noted

theories such as erroneous outcome and selective enforcement, the Ninth Circuit has adopted the

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Seventh Circuit’s view that there is “no need to superimpose doctrinal tests on the [Title IX

statute.]” Doe v. Purdue Univ., 928 F.3d 652, 667 (7th Cir. 2019); Schwake v. Arizona Bd. of

Regents, 967 F.3d 940, 947 (9th Cir. 2020). More simply, “the standard for Title IX claims in this

context” asks: “do ‘the alleged facts, if true, raise a plausible inference that the university

discriminated [against John Doe] ‘on the basis of sex’?” Doe v. Columbia Coll. Chi., 933 F.3d

849, 854–55 (7th Cir. 2019) (quoting Purdue Univ., 928 F.3d at 667–68); Schwake v. Arizona Bd.

of Regents, 967 F.3d at 947.

       231.    Facts that “raise a plausible inference” that Oregon State University discriminated

against John Doe “on the basis of sex” id., include, but are not limited to:

           a. OSU declined to consider Doe’s lie detector examination results; yet could not

               point to a single policy provision explicitly prohibiting it. The examination was

               administered by a licensed polygrapher who concluded that Doe’s responses during

               the examination “were consistent with the usual indications of truthfulness.”

           b. Upon information and belief, the University applies a different standard of

               admissibility when considering admitting evidence submitted by females.

           c. The University rejected Doe’s claim that Roe had consented to sexual intercourse,

               even though he was able to identify numerous specific behaviors that had led him

               to that conclusion, such as: (i) Roe guiding Doe to her room by holding his hand;

               (ii) Roe pulling him down on top of her; (iii) Roe putting her hand around his neck

               and kissing him; (iv) Roe willingly removing all of her clothing while Doe went to

               close the door; (v) Roe climbing on top of him and having sex with him in that

               position; (vi) Roe responding both verbally by stating “yes” and “yeah” and non-

               verbally by moaning and nodding her head yes, in the affirmative, when Doe asked



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     her at various stages whether she wanted to continue, and throughout the sexual

     interaction in its entirety.

  d. The University summarily dismissed Doe’s assertions and retelling of how Roe was

     fully alert and in her full capacities during their entire encounter, including how

     Roe did not stagger or sway as she walked, and remained alert and coherent.

  e. OSU declined to interview over 75% (more than seven) of the witnesses that Doe

     provided for the investigation.

  f. The University declined to interview at least one critical witness, Jen Smith. As

     previously noted, Ms. Smith could have provided first-hand knowledge regarding

     Roe’s apparent attraction to Doe and the interactions between Doe and Roe before,

     during, and after the evening of the alleged incident.

  g. The University failed to ask critical questions that Doe wanted the investigator to

     ask Roe and other witnesses, to establish crucial facts in the matter.

  h. OSU failed to afford Doe any opportunity to review and respond to critical pieces

     of evidence offered against him.

  i. Ms. Bangs’ and Ms. Russell’s viewed Doe with disdain, while simultaneously

     being dismissive of his comments and assertions, during his encounters with them.

  j. The University failed to provide any permanent and/or hard copy of the

     Investigation Report, thereby depriving Doe of adequately defending himself

     against the allegations.

  k. OSU failed to consider Roe’s motivations for filing the complaint against Doe,

     namely, in connection with her status on the athletic team.




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           l. In assessing credibility, OSU failed to account for Doe’s previously spotless record,

               as supported by his substantial background check done by the United States Secret

               Service.

           m. The University removed Doe as the manager of the relevant team approximately

               five months prior to sending a letter of Notice, in violation of their own policies. In

               fact, OSU never sent Doe a formal notice of an interim measure—removal from

               student activities—at all.

           n. OSU failed to afford Doe the requisite presumption of innocence, as evidenced in

               part by the liberal use of problematic terms suggesting a presumption of guilt, like

               perpetrator, victim, and survivor.

           o. Upon information and belief, the training of those involved in the process utilized

               this type of problematic verbiage, placing those who are trained in a mindset to

               assume that the (usually female) complaining party is the “victim” or “survivor”

               and the (usually male) responding party is guilty.

           p. The Investigator misapplied the preponderance of the evidence standard when she

               found Roe’s account of the events to be more credible than Doe’s.

           q. The pressure imposed by the prior OCR investigation, including fear of loss of

               federal funding, as well as the added fear of financial liability such as reimbursing

               tuition for aggrieved students, improperly influenced OSU’s determinations of

               responsibility.

       232.    OSU also imposed an unduly harsh sanction upon Doe, which was motivated by

Plaintiff’s gender. When the University imposed the sanction, Plaintiff Doe had completed all of

his credits and had no desire to physically return to OSU.



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       233.     Upon information and belief, OSU has engaged in a pattern of unfair investigations

and adjudications resulting in serious sanctions being imposed upon male students, while not

making comparable efforts with respect to allegations of sexual violence and abusive conduct

made against female/non-male students.

       234.     Based on the foregoing, OSU subjected Plaintiff to a biased, prejudiced, and

explicitly unfair process in violation of Title IX.

       235.     This unlawful discrimination in violation of Title IX caused Plaintiff Doe to sustain

substantial injury, damage and loss, including but not limited to, loss of future educational and

career opportunities, reputational damages, economic injuries, and other direct and consequential

damages.

       236.     As a result of the foregoing, Doe is entitled to expungement of his record, conferral

of his degree, and damages in an amount to be determined at trial, plus prejudgment interest,

attorneys’ fees, expenses, costs, and disbursements.

                         AS AND FOR A THIRD CAUSE OF ACTION

        42 U.S.C. §1983: Denial of Fourteenth Amendment Procedural Due Process

                                     (Against All Defendants)

       237.     Plaintiff repeats and realleges each and every allegation hereinabove as if fully set

forth herein.

       238.     The Fourteenth Amendment to the United States Constitution provides that no state

shall “deprive any person of life, liberty, or property, without due process of law.” A similar right

is stated in the Fifth Amendment to the United States Constitution.

       239.     Section 1983 of Title 42 of the U.S. Code provides in pertinent part:

                Every person who, under color of any statute, ordinance, regulation, custom, or
                usage, of any State or Territory or the District of Columbia, subjects, or causes to

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               be subjected, any citizen of the United States or other person within the jurisdiction
               thereof to the deprivation of any rights, privileges, or immunities secured by the
               Constitution and laws, shall be liable to the party injured in an action at law, suit in
               equity,     or    other     proper     proceeding       for     redress.     .    .    .

       240.    The Due Process Clause applies where “charges of misconduct” by school

authorities and a suspension “could seriously damage the students’ standing with their fellow

pupils and their teachers as well as interfere with later opportunities for higher education and

employment.” Goss v. Lopez, 419 U.S. 565, 575 (1975).

       241.    In order to assert a due process claim, a plaintiff must demonstrate “the existence

of (1) a liberty or property interest protected by the Constitution; (2) a deprivation of the interest

by the government; [and] (3) lack of process.” Doe v. Univ. of Oregon, No. 6:17-CV-01103-AA,

2018 WL 1474531, at *11 (D. Or. Mar. 26, 2018), quoting Shanks v. Dressel, 540 F.3d 1082, 1090

(9th Cir. 2008) (internal quotation marks omitted); see also Hernandez v. Oregon Legislature, No.

6:21-CV-00238-MK, 2021 WL 661897, at *6 (D. Or. Feb. 20, 2021) (citing Haggard v. Curry,

631 F.3d 931, 935 (9th Cir. 2010) (highlighting that “[t]o establish a claim for violation of due

process, plaintiff must show that defendants deprived him of a constitutionally protected property

or liberty interest without adequate procedural protections.”)

       242.    A person has a protected liberty interest in his good name, reputation, honor, and

integrity, of which he cannot be deprived without due process. The Due Process Clause “forbids

arbitrary deprivations of liberty,” such that “[w]here a person’s good name, reputation, honor, or

integrity is at stake because of what the government is doing to him, the minimal requirements of

the Clause must be satisfied.” Goss v. Lopez, 419 U.S. at 574 (internal quotation marks omitted).

       243.    Deprivation of the protected liberty interest, identified by the “stigma-plus” test,

occurs where, as here, the State inflicted reputational damage is accompanied by an alteration in

legal status that deprived the person of a right he previously held. See Hart v. Parks, 450 F.3d

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1059, 1069–70 (9th Cir. 2006) (“a § 1983 claim may lie if Hart was stigmatized in connection with

the denial of a ‘more tangible’ interest…[t]his is known as the ‘stigma-plus’ test”); see also Doe

v. Purdue Univ., 928 F.3d 652, 661 (7th Cir. 2019) (highlighting that a liberty interest is protected

upon satisfaction of the “stigma plus” test).

          244.   Here, the suspension changed Plaintiff’s legal status since he could no longer be a

student for an extended period of time, it put his reputation and honor at stake, and it seriously

damaged his career prospects. He is thus entitled to procedural protections under the Due Process

Clause. See Doe v. Purdue Univ., 928 F.3d at 663 (7th Cir. 2019) (finding that plaintiff who was

suspended for one year after the University found him guilty of sexual violence had adequately

alleged a liberty interest under the “stigma plus” test because he alleged reputational harm, a

change to his legal status due to the suspension).

          245.   Doe satisfies this test because Defendants inflicted reputational harm by wrongfully

branding him as someone who engaged in sexual misconduct, a perpetrator, and then changed

Doe’s legal status by placing a suspension upon him, due to the wrongful finding of responsibility

against him, without a proper investigation or impartial hearing.

          246.   As a result, Doe has suffered extreme reputational damage. The University’s initial

finding of responsibility immediately interrupted Doe’s education and delayed the receipt of his

degree.

          247.   Doe’s reputational damage has impacted him immensely and will continue to

impact him for the rest of his life. Doe is already ostracized from his peers. As time goes on, he

continues to suffer even more, as his life is effectively stalled.

          248.   Doe suffered this treatment as a result of a flawed investigation, which directly

caused and impacted the reputational damage Doe suffered.



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       249.    Furthermore, OSU’s misconduct has shattered Doe’s lifelong dream of joining the

United States Secret Service.

       250.    A property interest is ordinarily formed by state law. Goss v. Lopez, 419 U.S at

572-573; Doe v. Univ. of Oregon, No. 6:17-CV-01103-AA, 2018 WL 1474531, at *11 (D. Or.

Mar. 26, 2018).

       251.    The State of Oregon recognizes that a contract is formed between the student and

the school with payment of tuition. Tate v. North Pacific Coll, 140 P. 743, 745 (Or. 1914); Doe v.

Univ. of Oregon, 2018 WL 1474531, at *11.

       252.    Prior to his sanction, Plaintiff Doe was a student in good standing, with a spotless

disciplinary and personal record.

       253.    Plaintiff paid the associated tuition fees and expenses, thus forming a contact

between himself and the University. This contract created a property interest in Doe’s continued

enrollment at the University throughout the period for which Doe had paid tuition. See Doe v.

Univ. of Oregon, 2018 WL 1474531, at *11.

       254.    “[W]hen federal courts have found a state-law anchor for a property right in higher

education, they have consistently found that right to be ‘sufficiently important to warrant

protection under the Due Process Clause.’” Id. As a result, this Court has found that a “plaintiff's

contract-created property interest in continued enrollment at the University is the sort of legitimate

entitlement protected by the Due Process Clause.” Id.

       255.    OSU, as a public institution established by the State of Oregon, as well as all of its

agents, including the Board of Trustees, have a duty to provide students equal protection and due

process of law by and through any and all policies and procedures set forth by the University.




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       256.    Fourteenth Amendment due process protections are required in higher educational

disciplinary proceedings. At a minimum, the Supreme Court has made clear that there are two

basic due process requirements: (a) notice, and (b) an opportunity to be heard.

       257.    When a student at a public university faces suspension or expulsion through a

disciplinary proceeding, a serious property interest is at stake; a suspension or expulsion will have

a lasting negative impact on the student’s life, so heightened due process protections including a

hearing, with the right to present evidence, cross-examine adversarial witnesses and to call

witnesses may be required. Doe v. Baum, 2018 WL 4265634, at **3-5 (6th Cir. Sept. 7, 2018);

Doe v. Univ. of Cincinnati, 872 F.3d 393, 402-04 (6th Cir. 2017).

       258.    Plaintiff, a student at OSU, faced disciplinary action that included the possibility of

suspension or expulsion. Accordingly, the Due Process provisions of the Fourteenth Amendment

applied to the disciplinary process utilized in Plaintiff’s case.

       259.    Plaintiff was entitled to a process commensurate with the seriousness of the

allegations and potential discipline, sanctions, and repercussions that he faced.

       260.    The allegations in this case resulted in Plaintiff’s suspension from November 2020

through September 2, 2022, removal from participation as a manager of an athletic team, and a

permanent marking on Doe’s record that already has and will continue to have lifelong

ramifications for Plaintiff with respect to his employment, education, and reputation.

       261.    Throughout the investigation and adjudication, Defendants violated Plaintiff’s

clearly established rights under the Due Process of the Fourteenth Amendment through their

deprivation of the minimal requirements of procedural fairness, by way of example and not

limitation:




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            a. The University failed to interview over 75% (more than seven) Doe’s witnesses,

                including, most critically, Jen Smith.

            b. OSU failed to ask critical questions of Doe’s accuser and other witnesses presented

                against him, resulting in a failure of an opportunity to be heard.

            c. The University removed Doe as a manager of an athletic team prior to any formal

                investigation commencing—in fact it was approximately five months prior to the

                start of the investigation through the formal Notice.

            d. The University failed to provide an impartial investigator and decision maker, and

                instead appointed all females who were, upon information and belief, biased against

                males to conduct the investigation.

            e. OSU prohibited Doe from cross-examining Roe and her witnesses in real-time, at

                a hearing without a predetermined finding. As cases of this nature turn on the

                credibility of the parties, a meaningful opportunity for cross-examination at a forum

                without a pre-determined result was critical.

            f. The University failed to afford Doe proper notice of the complaint and proceeded

                to investigate Roe’s allegations for months before ever contacting Doe.

        262.    Throughout the investigation, the University accepted Roe’s statements at face-

value and deemed her credible, despite Plaintiff providing clear evidence to the contrary. There

were no neutral, thorough, or fair administrators overseeing the process, and no hearing without a

prior determination, in violation of due process of law.

        263.    Defendants, as well as other agents, representative, and employees of OSU acted

under color of state law when they showed intentional, outrageous, and reckless disregard for

Plaintiff’s constitutional rights.



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       264.    Defendants all agreed to, approved, and ratified this unconstitutional conduct.

       265.    As a result of these due process violations, Plaintiff continues to suffer substantial

injury, damage, and loss, including, but not limited to, loss of future educational and career

opportunities, reputational damages, economic injuries, and other direct and consequential

damages.

       266.    Ms. Kirkland, as the Executive Director and Title IX coordinator, is responsible in

her official capacity for oversight of the disciplinary process and for ensuring OSU’s compliance

with any federal court injunction concerning ongoing due process violations in a disciplinary case,

including expungement of Plaintiff’s disciplinary record.

       267.    For a federal court injunction ordering prospective relief in a case involving a

sexual misconduct proceeding at OSU, joinder of Ms. Kirkland in her official capacity is necessary

for purposes of implementation of the requested prospective relief.

       268.    Ms. Johnson, as the current interim President of the University, is responsible in

her official capacity for oversight of all University processes, including school discipline, and for

ensuring OSU’s compliance with any federal court injunction concerning ongoing due process

violations in a disciplinary case, including the expungement of Plaintiff’s disciplinary record.

       269.    For a federal court injunction ordering prospective relief in a case involving a

sexual misconduct proceeding at OSU, joinder of Ms. Johnson in her official capacity is necessary

for purposes of implementation of the requested prospective relief.

       270.    Mr. Feser, as the Provost of the University, is responsible in his official capacity

for oversight of all University processes, including school discipline, and for ensuring OSU’s

compliance with any federal court injunction concerning ongoing due process violations in a

disciplinary case, including the expungement of Plaintiff’s disciplinary record.



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        271.   For a federal court injunction ordering prospective relief in a case involving a

sexual misconduct proceeding at OSU, joinder of Mr. Feser in his official capacity is necessary

for purposes of implementation of the requested prospective relief.

        272.   Ms. Millie, as the Director of Student Conduct and Community Standards, decided

to impose an improper finding of responsibility upon Doe and resulting sanction. She was

responsible for implementing the Code, Policies, and Procedures in an unbiased, impartial, and

fair manner, which she failed to do when she imposed the wrongful decision and sanction upon

Plaintiff.

        273.   Ms. Russell failed to uphold her responsibilities as the Investigator when she made

improper determinations of credibility and decisions throughout the investigation that eschewed

the Policy, Code, and Procedures, and robbed Doe of fundamental fairness.

        274.   Defendants Kirkland, Millie, Russell, Johnson, and Feser, as well as other agents,

representatives, and employees of the University, all acted under color of state law when they

showed intentional, outrageous, and reckless disregard for Plaintiff’s constitutional rights.

Defendants all agreed to, approved, and ratified this unconstitutional conduct.

        275.   As a result of the foregoing, Plaintiff has standing to seek, and is entitled to, an

injunction vacating Plaintiff’s disciplinary finding and the decision, granting expungement of

Plaintiff’s academic record and enjoining future violations of due process in investigating and

adjudicating the sexual misconduct complaint that is the subject of this action.

        276.   As a direct and proximate result of the above conduct, Plaintiff sustained

tremendous damages including, without limitation, emotional distress, psychological damages,

loss of education, loss of future educational and career opportunities, reputational damages,

economic injuries and other direct and consequential damages.



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       277.    As a result of the foregoing, Plaintiff is entitled to damages in an amount to be

determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs, and disbursements,

as well as injunctive relief directing OSU to: (i) reverse the outcome, findings, and sanction

regarding the complaint; (ii) immediate reinstatement as a student in good standing at OSU; (iii)

expunge Plaintiff’s disciplinary record with respect to the Roe complaint; (iv) remove any record

of the finding or Plaintiff’s suspension from his educational file/disciplinary records/transcript;

and (v) any and all further actions required to return Plaintiff to the status quo ante.

                       AS AND FOR A FOURTH CAUSE OF ACTION

                                        Breach of Contract

                     (Against Defendants OSU and the Board of Trustees)

       278.    Plaintiff repeats and realleges each and every allegation as if fully set forth herein.

       279.    Plaintiff Doe applied to and enrolled at OSU, and subsequently paid the associated

fees and expenses. Plaintiff did so with the expectation that OSU would implement and enforce

the provision and policies set forth in its official publications including the Code, Policy, and

Procedures.

       280.    The State of Oregon recognizes that a contract is formed between the student and

the school with payment of tuition. Tate v. North Pacific Coll, 140 P. 743, 745 (Or. 1914); Doe v.

Univ. of Oregon, 2018 WL 1474531, at *11.

       281.    “To state a claim for breach of contract, plaintiff must allege: (1) ‘the existence of

a contract,’ including ‘its relevant terms;’ (2) the ‘plaintiff's full performance and lack of breach;’

and (3) the ‘defendant's breach resulting in damage to plaintiff.’” Gallagher v. Capella Educ. Co.,

No. 3:19-CV-01342-JR, 2020 WL 8173023, at *4 (D. Or. July 1, 2020), report and




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recommendation adopted, No. 3:19-CV-01342-JR, 2021 WL 785133 (D. Or. Mar. 1, 2021);

(quoting Slover v. Or. State Bd. of Clinical Soc. Workers, 144 Or. App. 565, 570 (1996)).

        282.     An express contract, or alternatively, a contract implied in law or in fact was thus

formed between Plaintiff and OSU.

        283.     Based on the aforementioned facts and circumstances, Defendants breached their

express and/or implied agreement(s) with Plaintiff, and the covenant of good faith and fair dealing

therein.

        284.     Defendants committed several breaches of their agreements with Plaintiff during

the investigation process. A non-exhaustive list of Defendants’ breaches include:

              a. OSU Failed To Conduct A Thorough, Fair, And Impartial Investigation

        285.     The University promises to “conduct a thorough and impartial investigation,

gathering relevant and necessary information about the alleged misconduct.” Procedures, (L)(6)

(emphasis added). The Procedures also state that “[a]ll Equity Associates, who serve as

investigators for all allegations of a Policy and/or Discriminatory Misconduct violations, receive

training on issues related to sexual and gender-based harassment, sexual assault…and on how to

conduct an investigation that is fair and impartial, that provides parties with notice and a

meaningful opportunity to be heard, and that protects the safety of the parties and all participants

while promoting accountability.” (emphasis added).

        286.     Notwithstanding, OSU failed to conduct a fair, thorough, and impartial

investigation of the complaint against Doe, in violation of its own policies and fundamental

fairness.




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       287.    OSU failed to conduct a fair, thorough, and impartial investigation when it declined

to consider Doe’s lie detector examination results but could not point to a single policy provision

expressly prohibiting it.

       288.    The University further failed to afford fairness when it rejected Doe’s claim that

Roe had consented to sexual intercourse, even though he was able to identify numerous specific

behaviors that had led him to that conclusion, such as: (i) Roe guiding Doe to her room by holding

his hand; (ii) Roe pulling him down on top of her; (iii) Roe putting her hand around his neck and

kissing him; (iv) Roe willingly removing all of her clothing while Doe went to close the door; (v)

Roe climbing on top of him and having sex with him in that position; (vi) Roe responding both

verbally by stating “yes” and “yeah” and non-verbally by moaning and nodding her head yes, in

the affirmative, when Doe asked her at various stages whether she wanted to continue, and

throughout the sexual interaction in its entirety.

       289.    The University presumed Doe guilty from the outset due to his gender, robbing him

of impartiality in the process.

       290.    OSU even further failed to afford fairness when it dismissed Doe’s assertions and

retelling of how Roe was fully alert and in her full capacities during their entire encounter,

including how Roe did not stagger or sway as she walked, and remained alert and coherent.

       291.    Additionally, the University declined to interview at least one critical witness, Jen

Smith, who could have testified regarding Roe’s apparent attraction to Doe and the interactions

between Doe and Roe before, during, and after the evening of the alleged incident, as she witnesses

these encounters.

       292.    The University also declined to ask critical questions that Doe wanted the

investigator to ask Roe and other witnesses, to establish crucial facts in the matter.



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       293.    OSU also failed to provide any permanent and/or hard copy of the Investigation

Report, thereby depriving Doe of adequately defending himself against the allegations.

       294.    When assessing credibility, the University failed to account for Doe’s previously

spotless record, as supported by his substantial background check done by the United States Secret

Service.

       295.    The University failed to afford Doe the requisite presumption of innocence, as

evidenced in part by the liberal use of problematic terms suggesting a presumption of guilt, like

perpetrator, victim, and survivor.

       296.    Though the foregoing was unquestionably directly material or would have led to

directly material information critical to the determination of Roe’s allegations against Doe, the

College disregarded these points entirely, resulting in a process that was not thorough, fair, or

impartial.

       b. OSU Failed To Correctly Apply The Relevant Standard Of Review

       297.    The Code states, “[i]n determining whether a student violated the relevant portion

of the Code, the University will utilize the preponderance of the evidence standards, or in other

words, determine whether it is ‘more likely than not’ that the prohibited alleged conduct occurred.”

Code, 5.2.

       298.    Ms. Russell misapplied the preponderance of the evidence standard by finding

Roe’s account of the events that transpired to be more credible than Doe’s, despite strong evidence

to the contrary, as set forth above.

       299.    Ms. Russell further ignored the results of Doe’s lie detector test, which further

indicated Doe’s innocence of the allegations set forth by Roe.




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       300.    The University further misapplied the appropriate standard when it overlooked

Doe’s claim that Roe had consented to sexual intercourse, even though he was able to identify

numerous specific behaviors that had led him to that conclusion, such as: (i) Roe guiding Doe to

her room by holding his hand; (ii) Roe pulling him down on top of her; (iii) Roe putting her hand

around his neck and kissing him; (iv) Roe willingly removing all of her clothing while Doe went

to close the door; (v) Roe climbing on top of him and having sex with him in that position; (vi)

Roe responding both verbally by stating “yes” and “yeah” and non-verbally by moaning and

nodding her head yes, in the affirmative, when Doe asked her at various stages whether she wanted

to continue, and throughout the sexual interaction in its entirety.

       301.    Yet, each of these clear verbal and non-verbal indications of consent were

bewilderingly ignored by Ms. Russell.

       302.    Had Ms. Russell and Ms. Millie applied the correct standard of review, they would

have reached the only plausible conclusion—that Roe consented to sexual activity with Doe.

       c. OSU Breached Its Obligation to Presume Doe Innocent of The Charges and Assign
       The Burden Of Proof To The University

       303.    While OSU’s Policy and Procedures do not include a provision that specifically

addresses the presumption of innocence, or which party is assigned the burden of proof, both the

accused’s right to fundamental fairness and the implied covenant of good faith and fair dealing

required that Doe be presumed innocent, and that OSU have the burden of proof to establish

otherwise.

       304.    OSU violated this obligation when it presumed Doe guilty from the outset and

operated from the presumption that Doe was responsible for a violation of the University’s Policy

and Code.




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       305.    The University’s presumption of guilt became apparent when the University

pursued Roe’s allegations repeatedly, despite, upon information and belief, her lack of response.

       306.    The University’s presumption of guilt became further apparent when Ms. Russell

conducted several interviews prior to Doe’s interview.

       307.    The foregoing reveals a process in which the University presumed Doe guilty from

the time that they received the complaint, and the investigation was conducted in a manner to reach

this predetermined result.

       D. OSU Failed to Promptly and Expeditiously Resolve The Matter

       308.    Section F of the Procedures states that OSU “will attempt to resolve all complaints

as promptly as possible, consistent with the need to conduct sensitive and informed fact-gathering

to ensure an equitable resolution.”

       309.    Notwithstanding, the investigation and resulting process dragged on for nearly one

year, in violation of Section F of the Procedures.

       310.    The foregoing violations, individually and in the aggregate, resulted in a process

that was neither fair nor impartial, ultimately contributing to an erroneous finding against Doe and

the resultant damages to his academics and career prospects.

       311.    As a direct and proximate result of the above conduct, Doe has sustained

tremendous damages, including, without limitation, emotional and psychological distress, loss of

educational and extracurricular opportunities, loss of career opportunities, past and future

economic injuries, reputational damage, and other direct and consequential damages.




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                                     PRAYER FOR RELIEF

   WHEREFORE, for the foregoing reasons, Plaintiff John Doe respectfully requests that this

Court order as follows:

   (i)       On the first cause of action for violation of Title IX of the Education Amendments of
             1972—Erroneous Outcome, a judgment against Defendants awarding Doe:

             a. Damages in an amount to be determined at trial, including, without limitation,
                damages to physical well-being, emotional and psychological damages, damages
                to reputation, past and future economic losses, loss of educational opportunities,
                and loss of future career prospects, plus prejudgment interest, attorneys’ fees,
                expenses, costs, and disbursements;

             b. Expungement of all records related to the investigation, adjudication, disciplinary
                findings, and appeals process, notations, and sanctions from his records via
                injunctive relief; and

             c. Immediate reinstatement as a student in good standing to Oregon State University
                and award of his degree via an injunction.

   (ii)      On the second cause of action for violation of Title IX of the Education Amendments
             of 1972—Gender Bias, a judgment against Defendants awarding Doe:

             a. Damages in an amount to be determined at trial, including, without limitation,
                damages to physical well-being, emotional and psychological damages, damages
                to reputation, past and future economic losses, loss of educational opportunities,
                and loss of future career prospects, plus prejudgment interest, attorneys’ fees,
                expenses, costs, and disbursements;

             b. Expungement of all records related to the investigation, adjudication, disciplinary
                findings, and appeals process, notations, and sanctions from his records via
                injunctive relief; and

             c. Immediate reinstatement as a student in good standing to Oregon State University
                and award of his degree via an injunction.

   (iii)     On the third cause of action for violation of constitutional due process under 42 U.S.C.
             § 1983, a judgment against Defendants awarding Doe an injunction vacating Doe’s
             disciplinary findings and decision, granting expungement of the disciplinary records at
             issue in this complaint from Doe’s school records at the University, and immediate
             reinstatement to Oregon State University.

   (iv)      On the fourth cause of action for breach of contract, damages to physical well-being,
             emotional and psychological damages, damages to reputation, past and future

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            economic losses, loss of educational, career, and work opportunities, and loss of future
            career prospects.

   (v)      Awarding Plaintiff Doe any such other and further relief as this Court deems just,
            equitable, and proper, including attorneys’ fees.


                                  DEMAND FOR JURY TRIAL

         Plaintiff John Doe, by counsel, herein requests a trial by jury of all triable issues in the

present matter.

Dated: New York, New York
       October 25, 2021
                                               Respectfully submitted,

                                               Attorneys for Plaintiff John Doe

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